Case 20-50548-CTG   Doc 52-1   Filed 12/17/21   Page 1 of 3




                    EXHIBIT 1
                         Case 20-50548-CTG   Doc 52-1   Filed 12/17/21   Page 2 of 3




  Art Van Furniture to Close All
  Stores; Going Out of Business
  Sales to Start Friday, March 6
  Levin & Wolf Furniture to be sold to Robert Levin, pending
  sale approval




NEWS PROVIDED BY
Art Van Furniture 
Mar 05, 2020, 09:31 ET




  WARREN, Mich., March 5, 2020 /PRNewswire/ -- AVF Holdings, Inc. (the "Company"), announced
  today it has made the difficult decision to wind down operations and begin liquidation sales at
  all of its company owned stores in Michigan, Illinois, Indiana, Missouri, and Ohio. The Company
  operates under the brands Art Van Furniture, Art Van PureSleep and Scott Shuptrine Interiors.
  Levin & Wolf Furniture in Ohio and Pennsylvania will be sold to Robert Levin, pending court
  approval. Eight Wolf Furniture stores in Maryland and Virginia will also be liquidated.


  "Despite our best efforts to remain open, the Company's brands and operating performance have
  been hit hard by a challenging retail environment," said Diane Charles, Art Van Furniture
  spokesperson. "We recognize the extraordinary retail, community and philanthropic legacies that
  Art Van Furniture has built for decades in the community."


  Art Van Elslander, opened his first furniture store in metro Detroit in 1959, growing it to the
  number one furniture and mattress retailer in the Midwest.


  "On behalf of the Company we want to offer our sincere appreciation to our employees for their
  dedication, commitment and hard work. We also want to extend our gratitude to the many
  customers, vendors, franchisees, charities and communities who have supported these retailers,"
                                                                                                    
  continued Charles.
The liquidation salesCase
                      will 20-50548-CTG    Doc 6
                           begin Friday, March 52-1
                                                 at allFiled 12/17/21
                                                        Art Van         Page
                                                                 Furniture,   3 Van
                                                                            Art of 3 PureSleep, and

Scott Shuptrine Interiors in Michigan, Illinois, Ohio, Indiana, and Missouri, and select Wolf stores
in Maryland and Virginia.


SOURCE Art Van Furniture




Related Links

http://www.artvan.com




                                                                                                      
